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                                UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
10
     IN RE GOOGLE PLAY STORE
11   ANTITRUST LITIGATION
12   THIS DOCUMENT RELATES TO:                           CASE No. 3:21-md-02981-JD
13   Epic Games Inc. v. Google LLC et al.,               DECLARATION OF LEE M. MASON
     Case No. 3:20-cv-05671-JD                           IN SUPPORT OF PLAINTIFFS’
14
     In re Google Play Consumer Antitrust                MOTION FOR SANCTIONS
15   Litigation, Case No. 3:20-cv-05761-JD
                                                         Judge: Hon. James Donato
16   State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
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                     MASON DECLARATION IN SUPPORT OF PLAINTIFFS’
                               MOTION FOR SANCTIONS
               Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
            Case 3:20-cv-05671-JD Document 314-1 Filed 10/13/22 Page 2 of 4



 1          I, Lee M. Mason, declare as follows:
 2                  1.      I am an attorney duly admitted to practice in the State of Illinois and before
 3   this Court pro hac vice. I am an associate at Bartlit Beck LLP, and represent the proposed
 4   consumer class in this action. I submit this declaration in support of the Plaintiffs’ Notice of
 5   Motion and Motion for Sanctions, and Memorandum of Points and Authorities in Support
 6   Thereof. The contents of this declaration are based on my personal knowledge, including my
 7   personal knowledge of the documents cited herein. The facts set forth herein are within my
 8   personal knowledge and if called as a witness, I could and would competently testify to them.
 9                  2.      Attached hereto as Exhibit 1 is a true and correct copy of the letter dated
10   November 11, 2021 from Brian Rocca to Lauren Moskowitz.
11                  3.      Attached hereto as Exhibit 2 is a true and correct copy of Defendants
12   Google LLC, Google Ireland Limited, Google Commerce Ltd., Google Asia Pacific Pte. Ltd.,
13   and Google Payment Corp.’s Responses and Objections to Plaintiffs’ Document Preservation
14   Interrogatories, dated January 14, 2022.
15                  4.      Attached hereto as Exhibit 3 is an excerpt of a true and correct copy of
16   the deposition transcript of Jamie Rosenberg, taken in this litigation on February 10, 2022.
17                  5.      Attached hereto as Exhibit 4 is an excerpt of a true and correct copy of
18   the deposition transcript of Tian Lim, taken in this litigation on December 2, 2021.
19                  6.      Attached hereto as Exhibit 5 is an excerpt of a true and correct copy of
20   the deposition transcript of Michael Marchak, taken in this litigation on January 12, 2022.
21                  7.      Attached hereto as Exhibit 6 is an excerpt of a true and correct copy of
22   the deposition transcript of Justin Mattson, taken in this litigation on July 29, 2022.
23                  8.      Attached hereto as Exhibit 7 is a true and correct copy of a document
24   produced by Google in this litigation bearing the Bates range GOOG-PLAY-005576717 to
25   GOOG-PLAY-005576718.
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                         MASON DECLARATION IN SUPPORT OF PLAINTIFFS’
                                   MOTION FOR SANCTIONS
                Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD

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            Case 3:20-cv-05671-JD Document 314-1 Filed 10/13/22 Page 3 of 4



 1                  9.      Attached hereto as Exhibit 8 is a true and correct copy of a document
 2   produced by Google in this litigation bearing the Bates range GOOG-PLAY-010510806 to
 3   GOOG-PLAY-010510807.
 4                  10.     Attached hereto as Exhibit 9 is a true and correct copy of a document
 5   produced by Google in this litigation bearing the Bates stamp GOOG-PLAY-003930716.
 6                  11.     Attached hereto as Exhibit 10 is a true and correct copy of a document
 7   produced by Google in this litigation bearing the Bates range GOOG-PLAY-007213451 to
 8   GOOG-PLAY-007213458.
 9                  12.     Attached hereto as Exhibit 11 is an excerpt of a true and correct copy of
10   the deposition transcript of Ashish Pimplapure, taken in this litigation on March 23, 2022.
11                  13.     Attached hereto as Exhibit 12 is a true and correct copy of a document
12   produced by Google in this litigation bearing the Bates range GOOG-PLAY-005601967 to
13   GOOG-PLAY-005601970.
14                  14.     Attached hereto as Exhibit 13 is a true and correct copy of a document
15   produced by Google in this litigation bearing the Bates range GOOG-PLAY-007611604 to
16   GOOG-PLAY-007611606.
17                  15.     Attached hereto as Exhibit 14 is a true and correct copy of a document
18   produced by Google in this litigation bearing the Bates stamp GOOG-PLAY-000353866.
19                  16.     Attached hereto as Exhibit 15 is a true and correct copy of a document
20   produced by Google in this litigation bearing the Bates range GOOG-PLAY-007873896 to
21   GOOG-PLAY-007873900.
22                  17.     Attached hereto as Exhibit 16 is a true and correct copy of a document
23   produced by Google in this litigation bearing the Bates range GOOG-PLAY-003929257 to
24   GOOG-PLAY-003929258.
25                  18.     Attached hereto as Exhibit 17 is a true and correct copy of a document
26   produced by Google in this litigation bearing the Bates stamp GOOG-PLAY-010510815.
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                         MASON DECLARATION IN SUPPORT OF PLAINTIFFS’
                                   MOTION FOR SANCTIONS
                Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD

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            Case 3:20-cv-05671-JD Document 314-1 Filed 10/13/22 Page 4 of 4



 1                  19.     Attached hereto as Exhibit 18 is a true and correct copy of the letter dated
 2   April 22, 2021 from Melinda Coolidge to Minna Lo Naranjo.
 3                  20.     Attached hereto as Exhibit 19 is a true and correct copy of the letter dated
 4   August 13, 2021 from Brian Rocca to Lauren Moskowitz and John Byars.
 5                  21.     Attached hereto as Exhibit 20 is a true and correct copy of a document
 6   produced by Google in this litigation bearing the Bates range GOOG-PLAY-002384214 to
 7   GOOG-PLAY-002384215.
 8                  22.     Attached hereto as Exhibit 21 is a true and correct copy of a document
 9   produced by Google in this litigation bearing the Bates range GOOG-PLAY-003600814 to
10   GOOG-PLAY-003600816.
11          I declare under penalty of perjury under the laws of the United States of America that the
12   foregoing is true and correct. Executed on this 13th day of October, 2022 at Chicago, Illinois.
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14                                                                  /s/ Lee M. Mason
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                      MASON DECLARATION IN SUPPORT OF PLAINTIFFS’
                                MOTION FOR SANCTIONS
                Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD

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